Case 2:04-cv-09049-DOC-RNB Document 9830-18 Filed 02/08/11 Page 1 of 4 Page ID
                                 #:296669




               Exhibit 18
Case 2:04-cv-09049-DOC-RNB Document 9830-18 Filed 02/08/11 Page 2 of 4 Page ID
                                 #:296670




                                           RJN Ex. 18 - Page 100
Case 2:04-cv-09049-DOC-RNB Document 9830-18 Filed 02/08/11 Page 3 of 4 Page ID
                                 #:296671




                                           RJN Ex. 18 - Page 101
Case 2:04-cv-09049-DOC-RNB Document 9830-18 Filed 02/08/11 Page 4 of 4 Page ID
                                 #:296672




                                           RJN Ex. 18 - Page 102
